              Case 1:13-cr-00218-KJM Document 96 Filed 11/10/14 Page 1 of 3


 1 Manuel U. Araujo
   Attorney at Law,
 2 California Bar Number 65065
   1650 E. Gonzalez Rd.
 3 Oxnard, CA 93036
   Telephone: (805) 988-6805
 4
   Attorneys for the
 5 Jose Gonzalez-Martinez

 6
                                     UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00218-AWI-BAM

10                                 Plaintiff,           STIPULATION AND ORDER TO CONTINUE
                                                        THE HEARING ON DEFENDANT’S MOTION
11                          v.                          TO SUPPRESS FROM NOVEMBER 17, 2014,
                                                        AT 1:30 PM TO DECEMBER 1, 2014 AT 1:30
12   JOSE MARTINEZ-GONZALEZ, ET.AL.
                                                        DATE: December 1, 2014
13                                 Defendants.          TIME: 1:30 PM
                                                        COURT: Hon. Anthony W. Ishii
14

15          The United States of America, by and through BENJAMIN B. WAGNER, United States

16 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants Jose

17 Martinez-Gonzalez, et. al., by and through their attorneys of record, hereby stipulate to continue the

18 hearing on the defendants’ motion to suppress, from November 17, 2014 at 1:30 P.M. until December 1,

19 2014 at 1:30 p.m. The reason for the continuance is to permit the defendant additional time to complete

20 its reply to the Government’s opposition to the defendant’s motion to suppress which it filed on October
           1
21 29, 2014 . Additionally, counsel for Martinez-Gonzalez on November 17, 2014, at 1:30 PM has a multi-

22 defendant hearing on pretrial motions on a case set for trial on December 16, 2014, in the case of United

23 States v. Washington, CR 14-415-RGK, in the Central District of Los Angeles. Counsel has attempted

24 to continue that hearing, but the Government witness is not available in the first two weeks of December

25 2014, therefore the parties will not agree to a continuance.

26
           1
             For some unknown reason counsel for Mr. Martinez-Gonzalez was not able to download a copy
27 of the government’s opposition until November 4, 2014.

28
                                                        1
              Case 1:13-cr-00218-KJM Document 96 Filed 11/10/14 Page 2 of 3


 1          IT IS AGREED THAT the defendant(s) shall have until November 17, 2014 to file its reply to

 2 the Government’s opposition to the motion.

 3          IT IS FURTHER AGREED that, for the purpose of computing time under the Speedy Trial Act,

 4 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of November 17, 2014 to

 5 December 1, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D).

 6

 7 Dated: November 9, 2014                                  /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 8                                                          Assistant United States Attorney
 9 Dated: November 9, 2014                               /s/ Manuel U. Araujo
                                                         Manuel U. Araujo
10                                                       Attorney for Defendant Jose Martinez-Gonzalez
11 Dated: November 9, 2014                               /s/ Harry Drandell
                                                         Harry Drandell
12                                                       Porfiro Farias
13 Dated: November 9, 2014                               /s/ Michael McDonald
                                                         Michael McDonald
14                                                       Ignacio Villalobos-Lopez
15 Dated: November 9, 2014                               /s/ Arturo Hernandez
                                                         Arturo Hernandez
16                                                       Octavio Gallegos-Vasquez
17 Dated: November 9, 2014                               /s/ John Garland
                                                         Luis Valencia, aka Alex Sanchez
18                                                       Attorney for Defendant
19

20                                                  ORDER
21

22          The United States of America, by and through BENJAMIN B. WAGNER, United States
23 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants Jose

24 Martinez-Gonzalez, et. al., by and through their attorneys of record, having stipulated to continue the

25 hearing on the defendants’ motion to suppress to December 1, 2014, and that defendant(s) have until

26 November 17, 2014 to file their reply to the Government’s opposition.
27

28
                                                        2
             Case 1:13-cr-00218-KJM Document 96 Filed 11/10/14 Page 3 of 3


 1         IT IS FURTHER ORDERED that for the purpose of computing time under the Speedy Trial Act,

 2 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of November 17 to

 3 December 1, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D).

 4

 5 IT IS SO ORDERED.

 6 Dated: November 10, 2014
                                              SENIOR DISTRICT JUDGE
 7

 8
 9
10

11

12

13

14

15
16

17

18

19

20

21

22

23

24

25

26
27

28
                                                      3
